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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

February 27, 2023 (202) 479-3011

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Clerk

United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place ,

New Orleans, LA 70130 '

Re: Texas State LULAG, et al.
v. Lupe C. Torres, in Her Official Capacity as the Medina County
Elections Administrator, et al.
No. 22-809
(Your No. 22-50690)

Dear Clerk:

The petition for a writ of certiorari in the above entitled case was filed on
February 28, 2023 and placed on the docket February 27, 2028 as No. 22-809.

Sincerely,
Scott S. Harris, Clerk
by

Jacob A, Levitan
Case Analyst

 
